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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

 ORION IP, LLC,                                 §
                                                §
        Plaintiff                               §
                                                §
 vs.                                            §      CASE NO. 607 CV 106
                                                §      PATENT CASE
 COSTCO WHOLESALE                               §      CONSOLIDATED WITH
 CORPORATION, et al.,                           §      607 CV 138
                                                §
        Defendants



                                            ORDER

       As all parties to this case have settled and the lead case, 6:07cv138, has been closed, the

Court ORDERS that this case be closed.


        So ORDERED and SIGNED this 15th day of January, 2010.




                               __________________________________
                               LEONARD DAVIS
                               UNITED STATES DISTRICT JUDGE
